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                        IN THE UNITED STATES DISTRICT COURT
                     FORTHE EASTERN DISTzuCT OF PENNSYLVANIA


f \ITED    STATES OF,\\IERIC,{                               CRIMINAL NO.

                                                            DATE FILED:

JESSE FLECK                                                 VIOLATIONS:
                                                            l8 U.S.C. $ 666(aXl)(l), (b) (theft
                                                            from organization receiving federal
                                                            funds - I count)
                                                            18 U.S.C. $ 1343 (wire fraud - I
                                                            count)
                                                            f 8 U.S.C. $ 2 (aiding and abetting)
                                                            Notices of forfeiture


                                        INFORMATION
                                             COUNT ONE


THE UNITED STATES ATTORNEY CHARGES THAT:

                                         BACKGROUiT-D

At all times material to this information:

                1.     The Southeastern Pennsylvania Transportation Agency ("SEPTA") was a

metropolitan transportation authority providing rail, trolley, and bus services to p{tssengers

within Philadelphia, Pennsylvania, and the surrounding counties    as   well   as service between the


states of Delaware and New Jersey   .



               2.      SEPTA was an organization, and an agency ofa state govemment, which

received annual benefits in excess of$10,000 under federal programs involving grants, contracts,

subsidies, loans, guarantees, and other forms of federal assistance.
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               3.       SEPTA issued "procurement cards," also known as P-Cards, which

operated as SEPTA credit cards, to management level employees working in SEPTA's Bridges

and Buildings Department    ('BBD"). The BBD was responsible for maintaining, repairing, and

renovating SEPTA facilities throughout Philadelphia. SEPTA provided written rules and

procedwes to the BBD employees conceming the use of these cards.

               4.       SEPTA rules allowed the P-Cards to be used for legitimate business

reasons to purchase materials and equipment forjobsites when there was an emergency need         for

those items and they were not available in SEPTA's stock system. Under SEPTA rules, most

materials for ajobsite should have been purchased in advance ofthe project through the purchase

order ("PO") process.

               5.       Consistent with the purpose of the P-Cards, SEPTA rules fiuther limited

the use ofthe cards. Beginning in or around 2017, the limits for individual P-Cards were (1) a

maximum of $1,000 for a single transaction; (2) a maximum of $4,000 for daily purchases; and

(3) no more than four transactions per day. Employees were not pemitted to artifrcially break up

purchases to hide violations of the rules, e.g., by making multiple smaller purchases to avoid

crossing the $1,000 threshold, also known as "fragmenting." Prior to 2017, these limits were

lower, i.e., $500 for a single transaction and $2,000 for daily purchases.

               6.       Defendant JESSE FLECK was a Director of Maintenance in SEPTA's

BBD. In that position, he supervised other managers and employees in the BBD.

               7.       Mark Irvello, charged elsewhere, was the owner and operator of MSI Tool

Repair and Supply and AM Services and Supplies (collectively referred to here as "MSI"),
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located at 7343 West Chester Pike in Upper Darby, Pennsylvania. MSI sold tools and other

construction products to various customers, including SEPTA, through employees in the BBD.

               8.     Sta::ley Woloff, charged elsewhere, was the owner and operator   of

Advantage Industrial Supply ("AIS"), located at 2137 East Tioga Street in Philadelphi4

Pennsylvania. AIS sold industrial supplies and other products to various customers, including

SEPTA, through employees in the BBD.

               9.     David Abell, Rodney Martinez, Stephen Kish, Peter Brauner, James

Tumer, and John Brady, all charged elsewhere, along with individuals known to the United

States Attomey and identified here as Manager #1, Manager #2, Manager #3, and Manager #4,

were managers in SEPTA's BBD. Defendant JESSE FLECK along with Abell, Martinez, Kish,

Brauner, Turner, Brady, Manager #1, Marager #2, Manage#3, and Manager #4, were agents           of

SEPTA who were issued P-cards and were trusted to use those cards to make work-related

purchases on behalf of SEPTA. These managers supervised numerous employees in the BBD

and held the following positions:

                      a.      David Abell was a Senior Director of Maintenance;

                      b.      Rodney Martinez was a Senior Director of Maintenance;

                      c.      Stephen Kish was a Director of Maintenance;

                      d.      Peter Brauner was a Maintenance Manager;

                      e.      James Tumer was a Maintenance Manager;

                      f.      John Brady was a Maintenance Manager;

                      g.      Manager #1 was a Maintenance Manager;

                      h.      Manager #2 was a Maintenance Manager


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                              Manager #3 was a Maintenance Manager; and

                      j.      Manager #4 was a Maintenance Manager


       THE ORIGIN AND HISTORY OF THE I.'RAUD AND BRItsERY SCHEME

               10.    In or about 2013, David Abell separately agreed, fust with Mark kvello of

MSI, and then with Stanley Woloffof AIS (collectively "the vendors"), to engage with each of

them in a fraud and bribery scheme against SEPTA. Abell agreed with the vendors that the

vendor would provide Abell with regular cash payments for Abell's personal benefit and that the

vendor would falsely bill SEPTA through the P-Card system for items that the vendor was not

providing to SEPTA. The false charges would cover the cash payments to Abell plus as much as

double that amount to provide an equal share of fraud proceeds for the vendor.

               11.    David Abell and the vendors understood and agreed that the vendors

would make these cash payments to Abell not only to generate fraud proceeds for themselves,

but also to maintain and grow the vendors' business with SEPTA. As part ofthis understanding

and agreement, Abell purchased goods for SEPTA from MSI and AIS and encouraged and

directed other SEPTA managers and employees in the BBD, including those identified above in

paragraph 9, to make purchases from MSI and AIS. Those managers and employees followed

Abell's direction and made purchases from MSI and AIS.

               12.    After agreeing to engage in this scheme, David Abell regularly solicited

and demanded cash payments from the vendors. Mark Irvello and Stanley Woloffthen regularly

provided cash to Abell, generally in amounts between $1,000 and $2,000 per month. The

vendors then charged the P-Cards of SEPTA managers for numerous items that they did not




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provide to SEPTA to cover the cash they gave to Abell and to generate substantial fraud

proceeds for themselves.

               13.      David Abell identified for the vendors the items for which to charge

SEPTA on the P-Cmds to make the charges appear legitimate and conceal the fraud from SEPTA

and authorities. Specifically, at Abell's direction, the vendors then billed SEPTA for products

that SEPTA might use, but in fact, did not need at that time. Similarly, at Abell's direction, the

vendors also billed SEPTA for products that they did provide to SEPTA, but billed SEPTA for

substantially more ofthose products than they actually provided. The vendors thus combined

legitimate with fraudulent billing, making the scheme difficult to detect.

               14.      Working with David Abell and other BBD managers, the vendors used the

managers' P-Cards interchangeably to make it easier to generate fraud proceeds and bill SEPTA

without exceeding the tmnsactional limits on the individual P-Cards. The vendors thus used any

manager's P-Card for transactions without regard for who was making a purchase or engaging in

fraud with them.

               15   .   Mark kvello and Stanley Woloff provided David Abell with cash

payments on a regular basis, approximately twice per month, from in or about 2013 until Abell

left the employment of SEPTA on or about May 25,2016.

               16.      Approximately one year before David Abell left the employment      of

SEPTA, he retired from his position as Senior Director of Maintenance and became a contractor

for SEPTA, continuing to work in SEPTA's BBD          as he   did as a manager. SEPTA replaced Abell

with Rodney Martinez, making Martinez the new Senior Director of Maintenance. Abell trained

Martinez in his new position and introduced Martinez to the cash-payment aspect of the fraud


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scheme.

               17.    Vendors Mark Irvello and Stanley Woloffthen made regular cash

payments to David Abell and Rodney Martinez and continued to falsely bill SEPTA for products

that they did not provide to SEPTA, as described above. The false billing covered the cash

payments to Abell and Martinez and provided fraudulent proceeds for the vendors.

               18.    Several other SEPTA BBD managers, including defendant JESSE FLECK

and those identified above in paragraph 9, engaged in similar fraud activity with vendors Mark

Irvello and Stanley Woloff. Those managers solicited the vendors for cash and personal items at

no cost to the SEPTA managers. The vendors agreed to provide the cash and personal items to

the managers, and as the parties further understood and agreed, the vendors fraudulently billed

SEPTA to cover the cost ofthose payments and products and to generate additional fraud

proceeds for the vendors.

               19.    Vendors Mark Irvello and Stanley Woloff provided the cash and other

items to the SEPTA marngers as requested, both to generate fraud proceeds for themselves and

to ensure that they continued to obtain and increase business from SEPTA.

               20.    From in or about 2013 through in or about 2019, vendors Mark Irvello and

Stanley Woloff, through their companies, each became one of SEPTA's largest billers on the P-

Card. In doing so, Irvello defrauded SEPTA of more than $540,000, and Woloff defiauded

SEPTA of more than $330,000.


                THE DEFEIIDANT'S IIWOLVEMENT IN THE SCHEME

               21.    In or about 2016, Rodney Martinez invited defendant JESSE FLECK to

join the scheme with him. At the request of Martinez, defendant FLECK helped identifr the

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items for which the vendors would falsely bill SEPTA to cover the cash proceeds the vendors

gave to Martinez. Defendant FLECK then shared, in part, the more than $100,000 in cash

proceeds Martinez obtained from the vendors fiom in or about 2016 through in or about 2019.

                 22.     Defendant JESSE FLECK also separately asked both Mark lrvello and

Stanley Woloffto provide him with personal products at no cost to defendant FLECK. Irvello

and   Woloff   agreed to provide defendant   FLECK with those personal products. Defendant

FLECK and the vendors understood and agreed that the vendors would use the SEPTA P-Cards

to fraudulently bill SEPTA for those personal products and generate additional fraud proceeds

for the vendors, in the manner discussed above in paragraph 13.

                 23.     From in or about September 2016 through in or about May 2019, as part

of this scheme, defendant JESSE FLECK obtained from Mark Irvello and Stanley Woloff

numerous personal items that Irvello and Woloff fraudulently billed to SEPTA through the P-

Card system. The total value of those products was at least $7,000, resulting in at least $10,000

in fraudulent billing to SEPTA. The products included, among others, hunting equipment,

automobile parts, and Yeti coolers.

                 24.    From in or about July 2016 through in or about May 2019, in the Eastem

District of Pennsylvania and elsewhere, defendant

                                             JESSE FLECK,

an agent ofSEPTA, an organization, and an agency        ofa   state govemment, which received

annual benefits from 2016 through 2019 in excess of$t 0,000 under federal programs involving

grants, contracts, subsidies, loans, guarantees, and other forms of federal assistance, knowingly

embezzled, stole, obtained by fraud, and otherwise without authority. knowingly converted, to


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the use of any person other than the rightful owner, and intentionally misapplied, and aided and

abetted the embezzlement, stealing, obtaining by fraud, conversion, and misapplication of,

property that was valued at more than $5,000 and was owned by, and under the care, custody,

and control of SEPTA.

               In violation of Title 18, United States Code, Sections 666(a)(l)(A), (b) and 2.




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THE UNITED STATES ATTORNEY FURTIMR CIIARGES TIIAT:

               l.     Paragraphs I through 23 of Count One of this information are

incorporated here.

               2.     From in or about 2016 through in or about May 2019, in the Eastem

District of Pennsylvania and elsewhere, defendant

                                        JESSE tr'LECK,

alone and with co-schemers known to the United States Attomey, devised and intended to devise

a scheme to defraud and   to obtain money and property ofSEPTA by means offalse and

fraudulent pretenses, representations, and promises.

               3.     On or about November 26, 2018, in the Eastem District ofPennsylvania

and elsewhere, defendant

                                        JESSE FLECK,

alone and with co-schemers known to the United States Attorney, for the purpose of executing

the scheme described above, and attempting to do so, knowingly caused to be transmitted by

means of wire communication in interstate and foreign commerce signals and sounds travelling

from the Eastem District of Pennsylvania to Amazon serven located outside of Pennsylvania for

Mark lrvello's purchase from Amazon, for approximately $1,800, of Polaris ATV equipment for

defendant FLECK.

               In violation of Title 18, United States Code, Section 1343.




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                                  NOTICE OF FOITFEITURE NO. I

THE T]NITED STATES ATTORNEY FURTIIER CHARGES THAT:

                1.      As a result ofthe violation ofTitle 18, United States Code, Section

666(a)(l)(A), (b), set forth in this information, defendant

                                             JESSE FLECK

shall forfeit to the United States of America any property, real or personal, which represents or is

traceable to the gross receipts obtained, directly or indirectly, as a result of such a violation,

including, but not limited to, the sum of$l9,015.

                2.      If   any of the property subject to forfeiture, as a result of any act or

omission of the defendant:

                        (a)       cannot be located upon the exercise ofdue diligence;

                        (b)       has been transferred or sold to, or deposited   with, a third party;

                        (c)       has been placed beyond the     jurisdiction of the Court;

                        (d)       has been substantially diminished in value; or

                        (e)       has been commingled       with other property which cannot be divided

                                   without difticulty;

it is the intent of the United   States, pursuant to   Title 28, United States Code, Section 2461(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture ofany other

property ofthe defendant up to the value ofthe property subject to forfeiture.

                All pursuant to Title    18, United States Code, Section 982(a)(3)(A).




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                                     NOTICE OF FORFEITURE NO.2

THE T]NITED STATES ATTORNEY FURTHER CIIARGES THAT:

                     l.    As a result ofthe violation ofTitle 18, United States Code, Section 1343,

set forth in this information, defendant

                                                JESSE FLECK

shall forfeit to the United States of America any property, real or personal, that constitutes or is

derived from proceeds traceable to the commission ofsuch violations, including, but not limited

to, the sum of   $   19,015.

                 2.        If   any of the property subject to forfeiture, as a result of any act or

omission of the defendant:

                           (a)       cannot be located upon the exercise of due diligence;

                           (b)       has been transferred or sold to, or deposited   with,   a   third party;

                           (c)       has been placed beyond the      jurisdiction ofthe Court;

                           (d)       has been substantially diminished in value;    or

                           (e)       has been commingled        with other property which cannot be divided

                                     without difiiculty;

it is the intent ofthe United      States, pusuant to   Title 28, United States Code, Section 2461(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other




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property ofthe defendant up to the value of the property subject to forfeiture.

               All pursuant to Title   28, United States Code, Section 2461(c) and   Title   18, United


States Code, Section 981 (a)(1 )(C).




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        No._ _ _ _ _ _ _ _ _ _
                         UNITED STATES DISTRICT COURT

                                 Eastern District of Pennsylvania

                                            Criminal Division

                     THE UNITED STATES OF AMERICA
                                                               vs.

                                                    JESSE FLECK


                                            INFORMATION
                                               Count(s)

18 U.S.C. § 666(a)(1)(A), (b) (theft from organization receiving federal funds - 1 count)
                        18 U.S.C. § 1343 (wire fraud - 1 count)
                           18 U.S.C. § 2 (aiding and abetting)
                                   Notices of forfeiture



                                                     A true bill.
                       _____________________________________________________________________
                                                     Foreman

                   Filed in open court this _________________________________day,
                         Of ________________________A.D. 20_____________
                    __________________________________________________________________________________________
                                                       Clerk

                                         Bail, $___________________________
